 Case 1:19-md-02875-RMB-SAK                          Document 2417          Filed 06/05/23     Page 1 of 10 PageID:
                                                           86059



                             MAZIE SLATER KATZ & FREEMAN, LLC
                                       103 Eisenhower Parkway, Suite 207, Roseland, NJ 07068
                                            Phone: (973) 228-9898 - Fax: (973) 228-0303
                                                       www.mazieslater.com

David A. Mazie*                                                                                    Karen G. Kelsen°
Adam M. Slater*°                                                                                   Cory J. Rothbort*°
Eric D. Katz*°                                                                                     Michael R. Griffith°
David M. Freeman                                                                                   Christopher J. Geddis
Beth G. Baldinger                                                                                  Samuel G. Wildman
Matthew R. Mendelsohn*°                                                                            Julia S. Slater°
David M. Estes                                                                                     Trevor D. Dickson
Adam M. Epstein°
                                                                                                   °Member of N.J. & N.Y. Bars
*Certified by the Supreme Court of
New Jersey as a Civil Trial Attorney
                                                            June 5, 2023

     VIA ECF

     Honorable Robert Kugler, U.S.D.J.                                 Honorable Thomas I. Vanaskie (Ret.)
     U.S. District Court - District of New Jersey                      Special Master
     Mitchell S. Cohen Building & US                                   Stevens & Lee
     Courthouse                                                        1500 Market St., East Tower, Suite 1800
     1 John F. Gerry Plaza, Courtroom 4D                               Philadelphia, Pennsylvania 19103-7360
     4th and Cooper Streets
     Camden, New Jersey 08101

                Re:        In re Valsartan, Losartan, and Irbesartan Liability Litigation,
                           Case No. 1:19-md-02875-RBK (D.N.J.)

     Dear Judge Kugler and Judge Vanaskie:

                Please accept this letter on behalf of Plaintiffs in advance of the June 7, 2023 case

     management conference.

          1. Retailer Defendant Discovery

                Plaintiffs believe a narrow set of discrete issues pertaining to Retailers (see infra Parts I.A-

     C) should be addressed at the June 7 CMC because they relate to the time-sensitive class notice

     deadlines. The remaining issues (see infra Part I.D), which the Parties continue to negotiate, would

     be addressed in the Parties’ agreed-upon briefing schedule submitted to Special Master Vanaskie

     on June 3, 2023. The issues on which Plaintiffs seek the Court’s guidance during the upcoming

     CMC are as follows.
Case 1:19-md-02875-RMB-SAK             Document 2417         Filed 06/05/23      Page 2 of 10 PageID:
                                             86060

  Honorable Robert Kugler, U.S.D.J.
  Honorable Thomas I. Vanaskie (Ret.)
  June 5, 2023
  Page 2

     A.      Retailers’ Production of Consumer Class Members’ Telephone Numbers in
             Retailers’ Dispensing Databases

          CMO No. 32 directed Retailers to produce consumer class members’ previously-redacted

  identifiers to effectuate class notice and claims administration. (ECF 2343, at § 6.1.3). The Parties

  conferred and agreed Retailers would produce the names, addresses, dates of birth, and emails (if

  available) that are stored in Retailers’ dispensing databases. These are the same databases from

  which Retailers previously produced the dates, NDCs, and co-pays for VCDs sold.

          The Parties submitted an agreed-upon proposed “HIPAA Order” on Thursday, May 25.

  The day after submitting the proposed HIPAA Order, Defendants filed their challenges to

  Plaintiffs’ proposed class notice program. (ECF 2412). Among Defendants’ many complaints is

  that direct notice should be provided to as many class members as possible.

          On May 30, the Court entered the parties’ agreed-upon “HIPAA Order,” which directed

  the production of the above-mentioned consumer identifiers within 60 days. (ECF 2413). The

  next day, Plaintiffs reached out to Retailers to request that they pull telephone numbers along with

  the names, addresses, dates of birth, and emails they already agreed to produce. Plaintiffs also

  proposed amending the HIPAA Order if necessary to encompass telephone numbers. The Parties

  discussed this issue on Friday, June 2. Retailers have yet to indicate whether they will provide

  telephone numbers along with the other consumer identifiers.

          Plaintiffs seek consumer class members’ telephone numbers because this is another readily

  available datapoint that will help to effectuate Manufacturer Defendants’ insistence on expansive

  direct notice. Retailers have already suggested their dispensing databases do not capture many

  emails in the ordinary course, and Mail notice will introduce significant expense. There are
Case 1:19-md-02875-RMB-SAK              Document 2417         Filed 06/05/23      Page 3 of 10 PageID:
                                              86061

  Honorable Robert Kugler, U.S.D.J.
  Honorable Thomas I. Vanaskie (Ret.)
  June 5, 2023
  Page 3

  millions of consumer class members in the economic loss and medical monitoring classes. Even

  at the cheapest available postage rates, direct mail notice will potentially cost several million

  dollars, which will not be beneficial to any party, especially if reasonable alternatives exist – which

  they do.

         Telephone numbers are a readily available, cost-effective alternative or supplemental

  means to facilitate direct notice. Undoubtedly, Retailers maintain telephone numbers for all or

  nearly all consumers in their dispensing databases. Direct notice via telephone call or text can be

  accomplished quickly and very cost effectively. Many courts have approved direct notice in this

  manner. See, e.g., Dickensheets v. ARC Marine, LLC, 440 F. Supp. 3d 670, 672 (S.D. Tex. 2020)

  (“I find that providing notice via text message in addition to other traditional notice methods will

  almost always be appropriate in modern society”); In re AT&T Mobility Wireless Data Servs.

  Sales Litig., 270 F.R.D. 330, 352 (N.D. Ill. 2010) (approving notice that included class notice

  accompanying monthly bills sent by defendant, text messages, and publication); Yates v. Checkers

  Drive-In Restaurants, Inc., 2020 WL 6447196, at *3 (N.D. Ill. Nov. 3, 2020) (ordering

  supplemental class notice via text message) (Ex. 1 hereto); see also, e.g., Lawrence v. A-1 Cleaning

  & Septic System Sys., LLC, 2020 WL 2042323, at *5 (S.D. Tex. Apr. 28, 2020) (“The reality of

  modern-day life is that some people never open their first-class mail and others routinely ignore

  their emails. Most folks, however, check their text messages regularly (or constantly).”) (Ex. 2

  hetero).

         Retailers have yet to articulate any reason for a refusal to produce telephone numbers.

  There is no undue burden, because they are already producing additional datapoints (names,

  address, dates of birth, and emails) from their dispensing databases. It makes sense to produce one
Case 1:19-md-02875-RMB-SAK             Document 2417        Filed 06/05/23     Page 4 of 10 PageID:
                                             86062

  Honorable Robert Kugler, U.S.D.J.
  Honorable Thomas I. Vanaskie (Ret.)
  June 5, 2023
  Page 4

  additional datapoint (telephone numbers) at the same time. That ‘telephone number’ was not

  among the datapoints in the Parties’ proposed HIPAA Order is of no moment. Even assuming

  telephone numbers are protected health information, Plaintiffs identified this need immediately

  after Defendants filed their opposition to the proposed class notice program, and less than twenty-

  four hours after the Court entered the HIPAA Order. Plaintiffs have offered that the HIPAA Order

  can be amended to add “telephone number” to the other datapoints being produced if necessary

  and to extend the due date accordingly.

           Simply put, there is no good reason why Retailers should not produce telephone numbers

  along with consumer class members’ names, addresses, dates of birth, and emails.

      B.        Retailers’ Production of Payor Identities

           CMO No. 32 ordered Retailers to produce, among other things, the amounts TPPs paid for

  VCDs. (ECF 2343, at § 6.1.1). Retailers agree they will be producing this information, but by

  when they will do so, and whether they will produce this on a transaction-by-transaction basis or

  on some aggregated basis, will be the subject the Parties’ forthcoming letter briefing (see infra

  Part I.D).

           As the letter briefing schedule stretches out for the next month, Plaintiffs have asked

  Retailers to produce in the meantime the names/identities of the TPPs, and their intermediaries

  that paid for VCDs on their behalf. Retailers can produce the actual amounts paid by each, on a

  rolling basis moving forward. In this context, transaction by transaction data will need to be

  produced both for the upcoming TPP trial, and for the consumer class that will need to determine

  which manufacturers’ contaminated pills were sold by each retailer, and in what quantity, and at

  what price.
Case 1:19-md-02875-RMB-SAK             Document 2417         Filed 06/05/23       Page 5 of 10 PageID:
                                             86063

  Honorable Robert Kugler, U.S.D.J.
  Honorable Thomas I. Vanaskie (Ret.)
  June 5, 2023
  Page 5

         Plaintiffs raised this because, again, Defendants’ opposition to the proposed class notice

  program filed on May 26 insists on expansive direct notice to class members. Retailers’ dispensing

  databases—the same databases from which they are pulling consumers’ names, addresses, dates

  of birth, and emails (and, hopefully, telephone numbers)—include the identity of class-member

  TPPs and their intermediaries that paid for VCDs, as applicable. Thus, this is another readily

  available source of information that can and should be used to facilitate direct notice, if necessary.

         Retailers have yet to indicate whether they will produce this information on the same 60-

  day timetable on which they will be producing the consumer identifier datapoints. Retailers have

  not articulated any reasons against doing so. As with the production of telephone numbers, there

  is no undue burden, because each Retailer already is pulling data from the exact same databases

  for the consumer identifiers. There also is no dispute that Retailers will be producing the amounts

  paid by TPPs per CMO No. 32, which necessarily will disclose entities’ identities. The only issue

  now is whether they should produce payors’ identities (or codes used to identify payors) now, to

  help facilitate the notice program, and there is no logical reason not to maximize the efficiency of

  this process.

         There is no real question that Retailers maintain this data in their dispensing databases.

  Here are some redacted examples from class representatives’ copies of their own print-outs from

  Retailers’ records (which, incidentally, also shows Retailers retain consumers’ telephone

  numbers):
Case 1:19-md-02875-RMB-SAK             Document 2417         Filed 06/05/23      Page 6 of 10 PageID:
                                             86064

  Honorable Robert Kugler, U.S.D.J.
  Honorable Thomas I. Vanaskie (Ret.)
  June 5, 2023
  Page 6




  Retailers’ concern that the entity listed as payor in their own records might not always be the TPP

  end-payor (e.g., it might be an intermediary such as a PBM acting on a TPP class member’s behalf)

  is immaterial. The point here is that data exist in Retailers’ possession that identify at least some

  TPP class members, or their agents, that paid for VCDs. And the PBMs would presumably be

  duty bound to pass on notice to the TPPs they worked on behalf of in any event. That is enough

  for notice purposes. These data need not be perfect or all-encompassing.

         Retailers should produce the identities of the payor entities in their dispensing records

  (along with any keys that decipher numeric codes used as proxies for entity names and addresses)

  on the same 60-day schedule applied to their production of consumers’ identifiers.
Case 1:19-md-02875-RMB-SAK             Document 2417        Filed 06/05/23      Page 7 of 10 PageID:
                                             86065

  Honorable Robert Kugler, U.S.D.J.
  Honorable Thomas I. Vanaskie (Ret.)
  June 5, 2023
  Page 7

     C.      Retailers’ Production of Consumer Class Member Identifiers in Other Databases

          CMO No. 32 ordered Retailers to produce consumer class members’ previously-redacted

  identifiers. (ECF 2343, at § 6.1.3). The “previously-redacted identifiers” were the names, etc.,

  discussed above stored in Retailers’ dispensing databases. In addition to dispensing databases,

  Plaintiffs are aware that some or all Retailers also maintain consumer identifiers (name, address,

  email, telephone number) in other databases, too.        These include loyalty rewards program

  databases, customer membership databases, and similar databases.

          Retailers have already suggested their dispensing records may not contain many consumer

  emails because that datapoint might not have been consistently collected or maintained in those

  systems. Retailers’ other databases likely contain many more emails for consumer class members.

  Therefore, to address Manufacturer Defendants’ prognostications about direct notice, Plaintiffs

  asked Retailers to produce consumer class member identifiers (principally emails, which

  apparently might be largely missing from Retailers’ dispensing databases) from their other

  loyalty/member/etc. databases as well, to further facilitate direct notice. The same would apply to

  telephone numbers as well.

          Retailers refuse to produce consumer class member identifiers (again, principally emails)

  from their other databases, arguing burden. They claim it will be laborious to query these other

  databases. Yet, if direct notice is ultimately required as Manufacturer Defendants argue, then

  certainly it is incumbent upon party-defendants such as Retailers to produce the very information

  that would assist with direct notice. This data will also be needed for the pursuit of the claims

  against the Retailers as well. And, again, direct notice via mail will be very expensive, and should

  not be unnecessarily costly when information in the Retailers’ possession, custody, and control
Case 1:19-md-02875-RMB-SAK             Document 2417        Filed 06/05/23      Page 8 of 10 PageID:
                                             86066

  Honorable Robert Kugler, U.S.D.J.
  Honorable Thomas I. Vanaskie (Ret.)
  June 5, 2023
  Page 8

  can alleviate those costs. Retailers should not withhold discoverable data which would allow direct

  notice to be accomplished more expansively and cost effectively.

     D.      Remaining Retailer Issues

          The only remaining matter between Plaintiffs and Retailers relates to the timing and scope

  of Retailers’ production of: (i) the amounts TPPs paid for VCDs; (ii) Retailers’ costs and profits,

  and (iii) custodial discovery. The Parties agree that production of the foregoing were ordered by

  CMO No. 32. The Parties continue to negotiate the timing and specific contours of these

  productions. Lingering impasses will be addressed in the parties’ forthcoming letter briefing.

     2. Plaintiffs' Class Notice Proposal

          At the time Plaintiffs’ filed their Class Notice Proposal, Plaintiffs did not have access to

  the individual class member identifying information and while this had been previously ordered

  by the Court, each of the Retailer Defendants could not, at that time, indicate the extent to which

  this information could be produced, or when it could be produced, i.e. with sufficient time to use

  it in the class notice program. Subsequent to the submission of Plaintiffs’ Class Notice Proposal,

  after several meet and confers on an expedited basis, the Retailer Defendants were able to come to

  an agreement that they could produce this information within 60 days of the Court’s order

  memorializing the agreement between the Parties. This order has now been entered. (ECF 2413).

          As indicated above, while the Parties have made substantial progress, a few more issues

  must be resolved before Plaintiffs and their notice vendor can completely evaluate the information

  available and adjust their recommendations as needed, including specifically whether

  individualized notice will be given to class members and the method of providing that notice.

  Plaintiffs will need more information from the Retailer Defendants regarding the structure of the
Case 1:19-md-02875-RMB-SAK             Document 2417         Filed 06/05/23       Page 9 of 10 PageID:
                                             86067

  Honorable Robert Kugler, U.S.D.J.
  Honorable Thomas I. Vanaskie (Ret.)
  June 5, 2023
  Page 9

  data being produced, the ability to map fields to the currently produced data, etc. before Plaintiffs

  can put such a revised proposed notice program together.

         Similarly, with regard to Third Party Payors, although Plaintiffs had originally proposed

  direct notice based upon a list provided by Plaintiffs’ notice vendor, Defendants criticized that list

  in their opposition briefing. Thus, in addition to supplementing that list based upon other publicly

  available sources, as discussed above, Plaintiffs believe information related to the identity of Third

  Party Payors in the possession of Defendants will help ensure that such notice is more robust and

  targeted and are seeking that information.

         Finally, with regard to the subclass issues raised by Defendants, Plaintiffs believe this could

  have been resolved through meet & confers, have begun to meet with Defendants to resolve those

  issues and have begun to make progress.

         Given these issues raised by Defendants in their brief, Plaintiffs asked Defendants whether

  they would be willing to jointly ask the Court to revise the schedule for class notice briefing to

  account for Plaintiffs submitting a revised class notice proposal that would include an analysis of

  the practicability of providing individual notice to the Consumer Economic Loss class members

  based on current information, and the likelihood that Defendants will want an opportunity to

  respond to Plaintiffs’ revised class notice proposal. Defendants have agreed that an extension is

  warranted and the Parties are working together on a proposed schedule with the goal of presenting

  a revised briefing schedule that would allow the Court to hear any remaining issues at the status

  conference at the end of July. Given that Plaintiffs will not have access to individual class member

  identifying information until shortly before that date, Plaintiffs believe that would be the earliest
Case 1:19-md-02875-RMB-SAK           Document 2417         Filed 06/05/23      Page 10 of 10 PageID:
                                           86068

  Honorable Robert Kugler, U.S.D.J.
  Honorable Thomas I. Vanaskie (Ret.)
  June 5, 2023
  Page 10

  date by which there will be sufficient concrete information for the Court to properly evaluate the

  proposed revised notice program.

     3. PFS Deficiencies and Orders to Show Cause

         Plaintiffs will be prepared to address this issue during the conference.

                                        Respectfully,



                                        ADAM M. SLATER

  Cc: All counsel of record (via ECF)
